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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

      UNITED STATES OF AMERICA
                  v.

           EDWARD JACOB LANG                           No. ____________________


                       Defendant.

                                              ORDER

        This matter having come before the Court pursuant to the application of the United States

to seal the criminal complaint, affidavit in support of the complaint, and arrest warrant in this case.

The Court finds that the United States has established that a compelling governmental interest

exists to justify the requested sealing and that the requested sealing is no greater than necessary to

protect those interests.

        IT IS THEREFORE ORDERED that the motion is hereby GRANTED, and that the

criminal complaint, affidavit in support of the complaint, and arrest warrant remain under seal until

the arrest of the defendant, at which time the criminal complaint and affidavit in support of the

complaint may be treated as a matter of public record, or until otherwise ordered by the Court.

                                                                                 G. Michael Harvey
Date: January 15, 2021                                                           2021.01.15
                                                                                 09:14:24 -05'00'
                                                       ___________________________________
                                                       G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE
cc:     MELISSA JACKSON
        Assistant United States Attorney
        United States Attorney’s Office
        555 Fourth Street, N.W.
        Washington, D.C. 20530
